Case 2:05-cr-00180-LRS   ECF No. 779   filed 10/30/08   PageID.8978 Page 1 of 6
Case 2:05-cr-00180-LRS   ECF No. 779   filed 10/30/08   PageID.8979 Page 2 of 6
Case 2:05-cr-00180-LRS   ECF No. 779   filed 10/30/08   PageID.8980 Page 3 of 6
Case 2:05-cr-00180-LRS   ECF No. 779   filed 10/30/08   PageID.8981 Page 4 of 6
Case 2:05-cr-00180-LRS   ECF No. 779   filed 10/30/08   PageID.8982 Page 5 of 6
Case 2:05-cr-00180-LRS   ECF No. 779   filed 10/30/08   PageID.8983 Page 6 of 6
